Case:17-03283-LTS Doc#:14693-4 Filed:10/20/20 Entered:10/20/20 17:16:22   Desc:
                           Exhibit D Page 1 of 8



                                     Exhibit D

              Schedule of Deficient Claims with Undeliverable Addresses
                                  Case:17-03283-LTS Doc#:14693-4 Filed:10/20/20 Entered:10/20/20 17:16:22                                                     Desc:
                                                             Exhibit D Page 2 of 8

                                                               One Hundred and Forty-First Omnibus Objection
                                                    Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                       ASSERTED CLAIM
    NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
1   MALDONADO RIVERA, ANTONIA                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      166625          Undetermined*
    C-29 CALLE C
    ADJUNTAS, PR 00601

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
2   MALDONADO RIVERA, YAMILET                                                               6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      117048             $ 20,000.00*
    BO. RIO ARRIBA
    ARECIBO, PR 00612

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
3   MALDONADO ROSADO, NEFTALI                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      124266          Undetermined*
    HC 02 BOX 7974
    SALINAS, PR 00751

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
4   MALDONADO ROSADO, NEFTALI                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      125983          Undetermined*
    HC 02 BOX 7974
    SALINAS, PR 00751

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
5   MANOHAS PEREZ, ROBERT                                                                    7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      159487          Undetermined*
    CARR. 407 KM 4.9
    LAS MARIAS, PR 00670

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
6   MANSO PIZARRO, ANGELA                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      141694          Undetermined*
    136 CALLE 7 PARCELAS
    SUAREZ, PR 00772

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
7   MARIN PEREZ, ROSA M                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      128029          Undetermined*
    HC BOX 5283
    ADJUNTAS, PR 00601

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 1 of 7
                                   Case:17-03283-LTS Doc#:14693-4 Filed:10/20/20 Entered:10/20/20 17:16:22                                                     Desc:
                                                              Exhibit D Page 3 of 8

                                                                One Hundred and Forty-First Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
8    MARIN PEREZ, ROSA M.                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      143214          Undetermined*
     HC 3 BOX 5283
     ADJUNTAS, PR 00601

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
9    MARIN PEREZ, ROSA M.                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      120753          Undetermined*
     HC 3 BOX 5283
     ADJUNTAS, PR 00601

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
10   MARRERO RIVERA, LYDIA M                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      124217          Undetermined*
     P.O. BOX 565
     BARRANQUITAS, PR 00794

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
11   MARRERO RIVERA, LYDIA M.                                                                6/28/2018      17 BK 03566-LTS Employees Retirement System of the               130999          Undetermined*
     P.O. BOX 565                                                                                                           Government of the Commonwealth
     BARRANQUITAS, PR 00794                                                                                                 of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
12   MARRERO RIVERA, VIRGEN S.                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      136724          Undetermined*
     1307 CARR. 7787 SECTOR MARRERO
     CIDRA, PR 00739

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
13   MARRERO, CARLOS A                                                                       6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      132532              $ 70,000.00
     RR5 BOX
     TOA ALTA, PR00953

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
14   MARTINEZ ARROYO, ANA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      134623          Undetermined*
     201 CALLE 10
     BAYAMON, PR 00956

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 2 of 7
                                   Case:17-03283-LTS Doc#:14693-4 Filed:10/20/20 Entered:10/20/20 17:16:22                                                     Desc:
                                                              Exhibit D Page 4 of 8

                                                                One Hundred and Forty-First Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
15   MARTINEZ ARROYO, ANA                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the               161843          Undetermined*
     201 CALLE 10                                                                                                           Government of the Commonwealth
     BAYAMON, PR 00956                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
16   MARTINEZ GAUD, MAYRA A.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      125419          Undetermined*
     PO BOX 2613
     COAMO, PR 00769

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
17   MARTINEZ GAUD, MAYRA A.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      142423          Undetermined*
     PO BOX 2613
     COAMO, PR 00769

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
18   MARTINEZ GONZALEZ, CARMEN G.                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      164935              $ 10,000.00
     CALLE DR. SALVADOR
     CARBONELLE LEVITTOWN
     TOA BAJA, PR 00949

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
19   MARTINEZ LOPEZ, SONIA M.                                                                6/28/2018      17 BK 03566-LTS Employees Retirement System of the               115072          Undetermined*
     CALLE LOAIZA CORDERO #32                                                                                               Government of the Commonwealth
     ANASCO, PR 00610                                                                                                       of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
20   MARTINEZ MALDONADO, ANGEL J.                                                            6/29/2018      17 BK 03566-LTS Employees Retirement System of the               139789          Undetermined*
     H-1 CALLE 6                                                                                                            Government of the Commonwealth
     COAMO, PR 00769                                                                                                        of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 3 of 7
                                   Case:17-03283-LTS Doc#:14693-4 Filed:10/20/20 Entered:10/20/20 17:16:22                                                     Desc:
                                                              Exhibit D Page 5 of 8

                                                                One Hundred and Forty-First Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
21   MARTINEZ MALDONADO, ANGEL J.                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      145295          Undetermined*
     H-1 CALLE 6
     COAMO, PR 00769

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
22   MARTINEZ MARTINEZ, MIRTA                                                                7/12/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      144893          Undetermined*
     CARR. 377 K5
     BO. CONSEJO ALTO
     GUAYANILLA, PR 00656

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
23   MARTINEZ MEDINA, GLADYS                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      143479          Undetermined*
     B-22 CALLE 1
     YUBUCOA, PR 00767

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
24   MARTINEZ MENDOZA, MIRIAM                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      164518              $ 10,000.00
     PO BOX 1630
     ANASCO, PR 00610

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
25   MARTINEZ QUILES, DULCE MA                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      125852          Undetermined*
     CALLE 9-H30 RESTO MARQUEZ
     ARECIBO, PR 00612

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
26   MARTINEZ QUILEZ, DULCE MA                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      125915          Undetermined*
     CALLE 9-H30 REPTO MARQUEZ
     ARECIBO, PR 00612

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
27   MARTINEZ RODRIQUEZ, CLOTILDE                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      143996          Undetermined*
     URB. DEL CARMEN
     CALLE 14
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 4 of 7
                                   Case:17-03283-LTS Doc#:14693-4 Filed:10/20/20 Entered:10/20/20 17:16:22                                                     Desc:
                                                              Exhibit D Page 6 of 8

                                                                One Hundred and Forty-First Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED        CASE NUMBER                      DEBTOR                      CLAIM #           AMOUNT
28   MARTINEZ ROLON, AIDA LUZ                                                                6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      120242           Undetermined*
     171 COCO N.
     SALINAS, PR 00751

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
29   MATOS , MADELINE MERCADO                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      162928           Undetermined*
     HC-03 BOX 11505
     PENUELAS, PR 00624

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
30   MATOS ARROYO, MARIA I.                                                                  6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      129656           Undetermined*
     H-14 CALLE SANTE FE' EXT SANTA ELENA III
     GUAYANILLA, PR 00656

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
31   MATOS MATOS, ANA BELEN                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      152150           Undetermined*
     CALLE ROSENDO VITERBO 907
     SAN JUAN, PR 00924

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
32   MATOS VILLARRUBIA, PURA AMANDA                                                          6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      125139           Undetermined*
     HC 57 BOX 15649
     AGUADA, PR 00602

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
33   MELENDEZ FALU, RUTH ENEIDA                                                               7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      142956           Undetermined*
     BO TORTUGO RR-3 BOX 3452
     SAN JUAN, PR 00926

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
34   MELENDEZ FALU, RUTH ENERDA                                                               7/2/2018      17 BK 03567-LTS Puerto Rico Highways and                         136189           Undetermined*
     BO TORTERGO RR-3 BOX 3452                                                                                              Transportation Authority
     SAN JUAN, PR 00926

     Reason: Proof of claim purports to assert liabilities associated with the Puerto Rico Highways and Transportation Authority, but fails to provide any basis or supporting documentation for asserting a
     claim against the Puerto Rico Highways and Transportation Authority, such that the Debtors are unable to determine whether claimant has a valid claim against the Puerto Rico Highways and
     Transportation Authority or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 5 of 7
                                   Case:17-03283-LTS Doc#:14693-4 Filed:10/20/20 Entered:10/20/20 17:16:22                                                     Desc:
                                                              Exhibit D Page 7 of 8

                                                                One Hundred and Forty-First Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
35   MELENDEZ LOPEZ, VIRGEN LISEDIA                                                          6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      148033          Undetermined*
     HC02 BOX 9606
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
36   MELENDEZ LUNA, FELIX N.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      138106          Undetermined*
     CARR. 172 RAMAL 7775 KM 3.2
     CIDRA, PR 00739

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
37   MELIOS, NELSON SANTIAGO                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      116695             $ 10,200.00*
     URB. SONTA MARIA CALLE #6 E8
     SAN GERMON, PR 00683

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
38   MILIAN COLON, ISMAEL                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      132523             $ 30,000.00*
     BO DOMINGO RUIZ 201
     ARCUBO, PR 00616

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
39   MINONDO BARRANCO, FLOR DE MARIA                                                         6/27/2018      17 BK 03566-LTS Employees Retirement System of the               167146          Undetermined*
     O-C 44 JARD. LAFAYETTE                                                                                                 Government of the Commonwealth
     ARROYO, PR 00714                                                                                                       of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
40   MIRANDA RIVERA, EDITH                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      139780          Undetermined*
     CALLE 1 O17 SANS SOUCI
     BAYAMON, PR 00957

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
41   MITCHELL REYES, LUIS M                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      147827          Undetermined*
     B40 CALLE 2 ESTE
     BAYAMON, PR 00961

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 6 of 7
                                   Case:17-03283-LTS Doc#:14693-4 Filed:10/20/20 Entered:10/20/20 17:16:22                                                     Desc:
                                                              Exhibit D Page 8 of 8

                                                                One Hundred and Forty-First Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
42   MOLINA SANTIAGO, LOURDES M                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      152266          Undetermined*
     E-1 CALLE 3
     COROZAL, PR 00783

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
                                                                                                                                                                       TOTAL                    $ 150,200.00*




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 7 of 7
